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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                                 4:17CR3132

      vs.
                                                               ORDER
NICOLE R. KEMP,

                  Defendant.


      Defendant has moved to continue the pretrial motion deadline, (Filing No.
25), because Defendant and defense counsel need additional time to fully review
the discovery received before deciding if pretrial motions should be filed. The
motion to continue is unopposed. Based on the showing set forth in the motion,
the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant’s motion to continue, (Filing No. 23), is granted.

      2)    As to both Defendants, pretrial motions and briefs shall be filed on
            or before February 20, 2018.

      3)    As to both Defendants, trial of this case is set to commence before
            the Honorable Richard G. Kopf, Senior United States District Judge,
            in Courtroom 1, United States Courthouse, Lincoln, Nebraska, at
            9:00 a.m. on March 19, 2018, or as soon thereafter as the case may
            be called, for a duration of four (4) trial days. Jury selection will be
            held at commencement of trial.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and as to both Defendants, the additional time arising as a
            result of the granting of the motion, the time between today’s date
            and February 20, 2018 shall be deemed excludable time in any
            computation of time under the requirements of the Speedy Trial Act,
            because although counsel have been duly diligent, additional time is
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          needed to adequately prepare this case for trial and failing to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7). Failing to timely object to this order as
          provided under this court’s local rules will be deemed a waiver of any
          right to later claim the time should not have been excluded under the
          Speedy Trial Act.

    Dated this 18th day of December, 2017.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge




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